Case 1:10-cr-00056-DS Document1 Filed 05/26/10 Page 1of3

as

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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, NORTHERN DIVISION .

 

UNITED STATES OF AMERICA,
INDICTMENT
Plaintiff,
-VIOS. 21 U.S.C. §841(a)(1) Possession
VS. of Marijuana with Intent to
Distribute; 924(c), Possession of
ABAM CURTIS WILLIAMS, Firearm in Furtherance of Drug
Trafficking Offense; 18 U.S.C.
Defendant. §922(g)(1), Felon in Possession
of a Firearm; 21 U.S.C.
§841(a)(1) Possession of
Psilocyn with intent to distribute;
21 U.S.C. §844(a)(1) Possession
of Tegrahycrocannabinols

Case: 1:10-cr-00056
Assigned To : Sam, David
Assign. Date : 5/26/2010
The Grand Jury charges: Description: USA v.

 

COUNTI
On or about March 1, 2010, in the Northern Division of the District of Utah,
ADAM CURTIS WILLIAMS,

Defendant herein, did knowingly and intentionally possess with intent to distribute marijuana, a
 

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‘ Case 1:10-cr-00056-DS Document 1 Filed 05/26/10 Page 2 of.3

Schedule I controlled substance, in violation of 21 USC. 841(a)(1).

COUNT II

On or about March 1, 2010, in the Northern Division of the District of Utah,
ADAM CURTIS WILLIAMS,
the defendant herein, did knowingly possess a firearm, aa Phoenix Arms 2» caliber handgun,
9mm Springfield XD handgun, an AK-47, in furtherance of a drug trafficking crime, to wit:
| possession with intent to distribute marijuana, in violation of 21 U.S.C. § 841 (a)(1), as alleged in

Count I of this Indictment, which Count II is incorporated herein by reference; all in violation of
18 U.S.C. § 924(c).

COUNT III |

On or about March 1, 2010, in the Northern Division of the District of Utah,

 

ADAM CURTIS WILLIAMS,
Defendant herein, having been convicted in any court of a crime punishable by imprisonment for
a term exceeding one year, did knowingly possess in an affecting interstate commerce firearms,
to wit, a Phoenix Arms .22 caliber handgun, 9mm Springfield XD handgun, an AK-47, and all in

violation of 18 U.S.C. § 922(g)(1).

COUNT IV
On or about March 1, 2010, in the Northern Division of the District of Utah,
ADAM CURTIS WILLIAMS,

Defendant herein, did knowingly and intentionally possess with intent to distribute psilocyn, a

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Case 1:10-cr-00056-DS Document1 Filed 05/26/10 Page 3 of 3

Schedule I controlled substance, in violation of 21 US.C. 841 (a)(1).

COUNT V
On or about March 1, 2010, in the Northern Division of the District of Utah,
ADAM CURTIS WILLIAMS,
Defendant herein, did knowingly and intentionally possess tetrahycrocannabinols, a Schedule I

controlled substance, in violation of 21 U.S.C. 844(a).

NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
As a result of the offenses in Count IH, the above-named defendant shall forfeit to
the United States pursuant to 18 U.S.C. § 924(d)(1), all firearms or ammunition involved in or
used in any knowing violation of 18 U.S.C. § 922 and § 924, including but not limited to the
firearms listed in Count III. |
A TRUE BILL:

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FOREPERSON of the GRAND JURY

 

CARLIE CHRISTENSEN
Acting United States Attorney

 
  
  

    
 

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